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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                         Case No. 1:21−cr−40

   v.                                       Hon. Robert J. Jonker

CHRISTOPHER ALLAN BODEN,
LEESA BETH VOGT,
DANIEL REYNOLD DEJAGER,

         Defendants.
                                      /



                           NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been scheduled as
set forth below:


Motion(s):             Motion to Dismiss (ECF No. 37)
Date/Time:             September 20, 2021 02:00 PM
Chief Judge:           Robert J. Jonker
Place/Location:        699 Federal Building, Grand Rapids, MI




                                          ROBERT J. JONKER
                                          Chief United States District Judge

Dated: September 3, 2021           By:     /s/ Susan Driscoll Bourque
                                          Case Manager
